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Anna Marie Grisanti 26444-078
FCI WASECA
FEDERAL CORRECTIONAL INSTITUTION
P.O. BOX 1731
WASECA, MN 56093
October 19,2023

                                                                                       RECEIVED: 10/25/23
The Honorable Judge Marcia A. Crone                                                    U.S. DISTRICT COURT
The Jack Brooks Federal Building and United States Courthouse                        EASTERN DISTRICT COURT
300 Willow Street Suite 239                                                          DAVID A. O'TOOLE, CLERK
Beaumont, TX 77701



Dear Judge Crone:


My name is Anna Marie Grisanti, and my federal inmate number is 26444-078.1 was sentenced by the Court in United States v.
Grisanti, CASE NO.l:16cr60 (E.D. Tex. Jun. 23,2017). I m writing today because I am currently in the process oftrying to secure
my halfway house placement. y case anager requested a placement date of October 26,2023, but I have been put on hold until
Ma 2024 because there is a remaining Keep Separate order bet een m self and so eone in a related case United States v.
Jackson, CASE NO. 1:17-cr-00070- AC-ZJH, (E.D. Tex.), Roosevelt Appleton 71174-019. Mr. Appleton is currently residing at the
Buffalo halfway house. I tried to request a placement through the half ay house in Rochester, NY to avoid this issue, but bec use it's
the same Residential Re-entry Management (RRM office (Pittsburgh, PA.) managing both Rochester and Buff lo, they s id no. This
"Keep Separate" order is not due to any danger, threats, or fears. It was placed to prohibit discussions while we were on pre-trial. It
was to my understanding it was to be lifted after we were sentenced (as it is in si ilar cases) to avoid this sort of issue. However, it
was never lifted, perhaps due to me not being det ined on pretrial, and that's how we're in the situation where e re now.

Because the h lfway houses also manage the people on home confinement, I cannot be placed on home confine ent to get around this
problem either. Until the "Keep Separate" order is lifted, I am unable to be pl ced under ny for of communit supervision. This is
not the intended state of affairs, since I have ea ed credits for this community pl ce ent th nks to my fall and complete participation
in all recommended programming and treatment programs, and no a unable to use them due to bureaucracy. My former ttorney is
no longer practicing, and the federal defenders said they couldn t help me since they weren t the attorneys I had for my case, so I'm
writing you myself to ask for any assistance you can provide. I humbly request ou to please request this Keep Separate order be
lifted as it was put in place for solely administrative reasons. This Keep Separate was not put in place for safety or security reasons.
I am not afraid of Mr. Appleton, he has never threatened me, nor have I ever threatened him, and to the best of my knowledge he has
never indicated having any fear of me. While I am asking for this Keep Separate order to be lifted, I want to state clearly I have no
intention of re-establishing contact with i'. Appleton. 1 am asking for this solely because I would like to not have to wait another
seven months until Mr. Appleton s sentence is finished to participate in the community treatment programs I m eligible for now
thanks to the my fall participation in Bure u of Prisons progr mming opportunities.

Thank you for your time in reading this and your consideration on these matters.




SinceKfy,




Anna Marie Grisanti 26444-078
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